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            Nos. 22-13051, 22-13052, 22-13118 & 22-13120

 United States Court of Appeals for the Eleventh Circuit

         IN RE BLUE CROSS BLUE SHIELD ANTITRUST LITIGATION
                            (MDL 2406)
                         _____________________________


                On Appeal from the U.S. District Court
       for the Northern District of Alabama, Southern Division
                       No. 2:13-cv-20000-RDP
                         _____________________________

        DEFENDANTS-APPELLEES’ RESPONSE BRIEF
                         _____________________________



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Blue Shield of Massachusetts, Inc.; Blue Cross and Blue Shield of North
Carolina, Inc.; BlueCross BlueShield of Tennessee, Inc.; California
Physicians’ Service d/b/a Blue Shield of California; CareFirst, Inc.;
CareFirst of Maryland, Inc.; Group Hospitalization and Medical
Services, Inc.; CareFirst BlueChoice, Inc.; Hawaii Medical Service
Association (Blue Cross and Blue Shield of Hawaii); Health Care Service
Corporation, an Illinois Mutual Legal Reserve Company, including its
divisions Blue Cross and Blue Shield of Illinois, Blue Cross and Blue
Shield of Texas, Blue Cross and Blue Shield of New Mexico, Blue Cross
and Blue Shield of Oklahoma, and Blue Cross and Blue Shield of
Montana; Caring for Montanans, Inc., f/k/a Blue Cross and Blue Shield
of Montana, Inc.; Wellmark of South Dakota, Inc. (Wellmark Blue Cross
and Blue Shield of South Dakota); Wellmark, Inc. (Wellmark Blue Cross
and Blue Shield of Iowa); Triple-S Management Corporation; Triple-S
Salud, Inc.
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Anthem, Inc., and all of its named      Illinois, Blue Cross and Blue
subsidiaries in this consolidated       Shield of Texas, Blue Cross and
action; Aware Integrated, Inc.;         Blue Shield of New Mexico, Blue
Louisiana Health Service &              Cross and Blue Shield of
Indemnity Company (Blue Cross           Oklahoma, and Blue Cross and
and Blue Shield of Louisiana);          Blue Shield of Montana; Caring
BCBSM, Inc. (Blue Cross and Blue        for Montanans, Inc., f/k/a Blue
Shield of Minnesota); Blue Cross        Cross and Blue Shield of
and Blue Shield of South Carolina;      Montana, Inc.; Highmark Health,
Horizon Healthcare Services, Inc.       a Pennsylvania non-profit
(Horizon Blue Cross and Blue            organization; Highmark Inc.,
Shield of New Jersey); Blue Cross &     f/k/a Highmark Health Services;
Blue Shield of Rhode Island; Blue       Highmark West Virginia Inc.;
Cross and Blue Shield of Vermont;       Highmark Blue Cross Blue Shield
Cambia Health Solutions, Inc.;          Delaware Inc.; Highmark Western
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                                        Independence Hospital Indemnity
Company
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Capital Blue Cross                      of North Dakota; Blue Cross Blue
                                        Shield of Wyoming
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            CERTIFICATE OF INTERESTED PERSONS
           AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1, the undersigned counsel

for Defendants-Appellees certify as follows:

      1.    Defendant-Appellee Blue Cross Blue Shield Association (a

private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      2.    Defendant-Appellee Blue Cross and Blue Shield of Alabama

(a private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      3.    Defendant-Appellee      Blue    Cross    and   Blue    Shield     of

Arizona, Inc. (a private non-governmental party) is a wholly owned

subsidiary of Prosano, Inc. and no publicly held corporation owns 10% or

more of its stock.

      4.    Defendant-Appellee Blue Cross of Idaho Health Service, Inc.

(a private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      5.    Defendant-Appellee      Blue    Cross    and   Blue    Shield     of

Kansas, Inc. (a private non-governmental party) has no parent




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corporation and no publicly held corporation owns 10% or more of its

stock.

      6.    Defendant-Appellee Blue Cross and Blue Shield of Kansas

City (a private non-governmental party) has no parent corporation and

no publicly held corporation owns 10% or more of its stock.

      7.    Defendant-Appellee      Blue    Cross    and   Blue    Shield     of

Massachusetts, Inc. (a private non-governmental party) has no parent

corporation and no publicly held corporation owns 10% or more of its

stock.

      8.    Defendant-Appellee Blue Cross Blue Shield of Michigan (a

private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      9.    Defendant-Appellee Blue Cross & Blue Shield of Mississippi

(a private non-governmental party) is a Mutual Insurance Company. It

has no parent corporation and no publicly held corporation owns 10% or

more of its stock.

      10.   Defendant-Appellee Blue Cross and Blue Shield of Nebraska

(a private non-governmental party) is wholly owned by GoodLife

Solutions, Inc., which is wholly owned by GoodLife Partners, Inc., a



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mutual insurance holding company.          GoodLife Partners, Inc. has no

parent corporation and no publicly held corporation owns 10% or more of

its stock.

      11.    Defendant-Appellee Blue Cross and Blue Shield of North

Carolina (a private non-governmental party) has no parent corporation

and no publicly held corporation owns 10% or more of its stock.

      12.    Defendant-Appellee Blue Cross Blue Shield of North Dakota,

formerly known as Noridian Mutual Insurance Company (a private non-

governmental party), is wholly owned by HealthyDakota Mutual

Holdings. HealthyDakota Mutual Holdings has no parent corporation

and no publicly held corporation owns 10% or more of its stock.

      13.    Defendant-Appellee Blue Cross & Blue Shield of Rhode Island

(a private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      14.    Defendant-Appellee Blue Cross and Blue Shield of South

Carolina (a private non-governmental party) has no parent corporation

and no publicly held corporation owns 10% or more of its stock.




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      15.   Defendant-Appellee Blue Cross Blue Shield of Tennessee, Inc.

(a private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      16.   Defendant-Appellee Blue Cross and Blue Shield of Vermont

(a private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      17.   Defendant-Appellee Blue Cross Blue Shield of Wyoming (a

private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      18.   Defendant-Appellee California Physicians’ Service, d/b/a Blue

Shield of California (a private non-governmental party) has no parent

corporation and no publicly held corporation owns 10% or more of its

stock.

      19.   Defendant-Appellee Cambia Health Solutions, Inc., formerly

known as The Regence Group, Inc. (a private non-governmental party),

has no parent corporation and no publicly held corporation owns 10% or

more of its stock.

      20.   Defendants-Appellees        Regence      BlueShield;       Regence

BlueCross BlueShield of Oregon; and Regence BlueCross BlueShield of



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Utah (all private non-governmental parties) have as their parent

corporation Regence Insurance Holding Corporation, which has

Defendant-Appellee Cambia Health Solutions, Inc. as its parent. Cambia

Health Solutions, Inc. has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      21.   Defendant-Appellee Regence BlueShield of Idaho, Inc. (a

private non-governmental party) is managed by Defendant-Appellee

Cambia Health Solutions, Inc. under a management and services

agreement. Cambia Health Solutions, Inc. has no parent corporation and

no publicly held corporation owns 10% or more of its stock.

      22.   Defendant-Appellee Capital Blue Cross (a private non-

governmental party) has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      23.   Defendant-Appellee       CareFirst,    Inc.   (a      private   non-

governmental party) has no parent corporation and no publicly held

corporation owns 10% or more of its stock. Defendants-Appellees Group

Hospitalization and Medical Services, Inc. and CareFirst of Maryland,

Inc., both private non-governmental parties, are wholly owned

subsidiaries of CareFirst, Inc. and no publicly held corporation owns 10%



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or more of their stock, respectively. Group Hospitalization and Medical

Services, Inc. and CareFirst of Maryland, Inc., through their subsidiary

CareFirst Holdings, LLC, and its wholly owned subsidiary, CareFirst

Consolidated,     Inc.,   own   in     virtually   equal   shares    CareFirst

BlueChoice, Inc.      CareFirst BlueChoice, Inc. is a private, non-

governmental party and no publicly held corporation owns 10% or more

of its stock.

      24.   Defendant-Appellee Elevance Health, Inc., formerly known as

Anthem, Inc. (a private non-governmental party), has no parent

corporation and no publicly held corporation owns 10% or more of its

stock.

      25.   Defendant-Appellee Anthem Blue Cross Life and Health

Insurance Company and Defendant-Appellee Blue Cross of California,

d/b/a Anthem Blue Cross, both private non-governmental parties, are

wholly owned subsidiaries of WellPoint California Services, Inc., which

is a wholly owned subsidiary of Anthem Holding Corp., which is a wholly

owned subsidiary of Defendant-Appellee Elevance Health, Inc. Elevance

Health, Inc. has no parent corporation and no publicly held corporation

owns 10% or more of its stock.



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      26.    Defendants-Appellees Anthem Health Plans, Inc., d/b/a

Anthem Blue Cross and Blue Shield of Connecticut; Anthem Health

Plans of Kentucky, Inc., d/b/a Anthem Blue Cross and Blue Shield of

Kentucky; Anthem Health Plans of Maine, Inc., d/b/a Anthem Blue Cross

and Blue Shield of Maine; Anthem Health Plans of New Hampshire, Inc.,

d/b/a Anthem Blue Cross and Blue Shield of New Hampshire;

Community Insurance Company, d/b/a Anthem Blue Cross and Blue

Shield of Ohio; and Rocky Mountain Hospital and Medical Service, Inc.,

d/b/a Anthem Blue Cross and Blue Shield of Colorado in Colorado and

d/b/a Anthem Blue Cross and Blue Shield of Nevada in Nevada, are all

private non-governmental parties and are wholly owned subsidiaries of

ATH Holding Company, LLC, which is a wholly owned subsidiary of

Defendant-Appellee Elevance Health, Inc. Elevance Health, Inc. has no

parent corporation and no publicly held corporation owns 10% or more of

its stock.

      27.    Defendant-Appellee Anthem Health Plans of Virginia, Inc.,

d/b/a Anthem Blue Cross and Blue Shield of Virginia, Inc. (a private non-

governmental party) is a wholly owned subsidiary of Anthem

Southeast, Inc.,     which     is    a   wholly     owned     subsidiary      of



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Defendant-Appellee Elevance Health, Inc. Elevance Health, Inc. has no

parent corporation and no publicly held corporation owns 10% or more of

its stock.

      28.    Defendant-Appellee Anthem Insurance Companies, Inc., d/b/a

Anthem Blue Cross and Blue Shield of Indiana (a private non-

governmental party) is a wholly owned subsidiary of Defendant-Appellee

Elevance Health, Inc. Elevance Health, Inc. has no parent corporation

and no publicly held corporation owns 10% or more of its stock.

      29.    Blue Cross Blue Shield of Georgia, Inc. merged with Blue

Cross Blue Shield Healthcare Plan of Georgia, Inc., to form Blue Cross

Blue Shield Healthcare Plan of Georgia, Inc. Defendant-Appellee Blue

Cross Blue Shield Healthcare Plan of Georgia, Inc. (a private non-

governmental party) is a wholly owned subsidiary of Cerulean

Companies, Inc., which is a wholly owned subsidiary of Anthem Holding

Corp., which is a wholly owned subsidiary of Defendant-Appellee

Elevance Health, Inc. Elevance Health, Inc. has no parent corporation

and no publicly held corporation owns 10% or more of its stock.

      30.    Defendant-Appellee Blue Cross Blue Shield of Wisconsin,

d/b/a Anthem Blue Cross and Blue Shield of Wisconsin (a private non-



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governmental party) is a wholly owned subsidiary of Crossroads

Acquisition Corp., which is a wholly owned subsidiary of Anthem Holding

Corp., which is a wholly owned subsidiary of Defendant-Appellee

Elevance Health, Inc. Elevance Health, Inc. has no parent corporation

and no publicly held corporation owns 10% or more of its stock. Blue

Cross Blue Shield of Wisconsin is also the parent company of Compcare

Health Services Insurance Corporation.

      31.   Defendant-Appellee Empire HealthChoice Assurance, Inc.,

d/b/a Empire BlueCross BlueShield (a private non-governmental party)

is a wholly owned subsidiary of WellPoint Holding, Corp., which is a

wholly owned subsidiary of Defendant-Appellee Elevance Health, Inc.

Elevance Health, Inc. has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      32.   Defendant-Appellee HMO Missouri, Inc., d/b/a Anthem Blue

Cross and Blue Shield of Missouri (a private non-governmental party) is

a wholly owned subsidiary of Defendant-Appellee RightCHOICE

Managed Care, Inc. (a private non-governmental party). RightCHOICE

Managed Care, Inc. is a wholly owned subsidiary of Anthem Holding

Corp., which is a wholly owned subsidiary of Defendant-Appellee



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Elevance Health, Inc. Elevance Health, Inc. has no parent corporation

and no publicly held corporation owns 10% or more of its stock.

RightCHOICE Managed Care, Inc. is also the parent company of Healthy

Alliance Life Insurance Company.

      33.   Defendant-Appellee Excellus Health Plan, Inc., d/b/a Excellus

BlueCross BlueShield (a private non-governmental party) is a subsidiary

of Lifetime Healthcare, Inc., and no publicly held corporation owns 10%

or more of its stock.

      34.   Defendant-Appellee GuideWell Mutual Holding Corporation

(a private non-governmental party) has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      35.   Defendant-Appellee       Blue   Cross    and    Blue     Shield    of

Florida, Inc. (a private non-governmental party) is a wholly owned

subsidiary of GuideWell Mutual Holding Corporation and no publicly

held corporation owns 10% or more of its stock.

      36.   Defendant-Appellee Hawaii Medical Service Association

(Blue Cross and Blue Shield of Hawaii) (a private non-governmental

party) has no parent corporation and no publicly held corporation owns

10% or more of its stock.



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      37.   Defendant-Appellee Health Care Service Corporation (a

private non-governmental party) is an Illinois Mutual Legal Reserve

Company that operates through its divisions Blue Cross and Blue Shield

of Illinois, Blue Cross and Blue Shield of Texas, Blue Cross and Blue

Shield of New Mexico, Blue Cross and Blue Shield of Oklahoma and Blue

Cross and Blue Shield of Montana. It has no parent corporation and no

publicly held corporation owns 10% or more of its stock.

      38.   Defendants-Appellees Highmark BCBSD Inc.; Highmark

West Virginia Inc.; and Highmark Western and Northeastern New York

Inc. are controlled affiliates of Defendant-Appellee Highmark Inc.,

formerly known as Highmark Health Services. Highmark Inc.’s parent

company is Defendant-Appellee Highmark Health, a Pennsylvania non-

profit organization. They are all private, non-governmental parties and

no publicly held corporation owns 10% or more of their stock,

respectively.

      39.   Defendant-Appellee Horizon Healthcare Services, Inc., d/b/a

Horizon     Blue   Cross    Blue    Shield   of   New    Jersey    (a   private

non-governmental party) has no parent corporation and no publicly held

corporation owns 10% or more of its stock.



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      40.   Defendant-Appellee       Independence      Hospital          Indemnity

Plan, Inc., formerly known as Independence Blue Cross (a private non-

governmental entity) is a wholly owned subsidiary of Independence Blue

Cross, LLC, which is a wholly owned subsidiary of AmeriHealth, Inc.,

which is a wholly owned subsidiary of Defendant-Appellee Independence

Health Group, Inc. Independence Health Group, Inc., a Pennsylvania

non-profit corporation, has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      41.   Defendant-Appellee Louisiana Health Service & Indemnity

Company, d/b/a Blue Cross and Blue Shield of Louisiana (a private non-

governmental party) has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      42.   Defendant-Appellee BCBSM, Inc., d/b/a Blue Cross Blue

Shield of Minnesota (a private non-governmental party), has as its parent

corporation    Defendant-Appellee      Aware     Integrated,      Inc.      Aware

Integrated, Inc. has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      43.   Defendant-Appellee Caring for Montanans, Inc. (a private

non-governmental party), formerly known as Blue Cross and Blue Shield



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of Montana, Inc., has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

      44.   Defendant-Appellee Premera and Premera Blue Cross, also

d/b/a Premera Blue Cross Blue Shield of Alaska (a private non-

governmental party), is a non-profit corporation organized under the

laws of the State of Washington and has no parents, subsidiaries and/or

affiliates that have issued shares or debt securities to the public.

      45.   Defendant-Appellee       Triple-S    Salud,    Inc.   (a    private

non-governmental party) is a wholly owned subsidiary of Triple-S

Management Corporation and no publicly held corporation owns 10% or

more of its stock.

      46.   Defendant-Appellee Triple-S Management Corporation (a

private non-governmental party) is a wholly owned subsidiary of

GuideWell Mutual Holding Corporation and no publicly held corporation

owns 10% or more of its stock.

      47.   Defendant-Appellee USAble Mutual Insurance Company,

d/b/a Arkansas Blue Cross and Blue Shield and as Blue Advantage

Administrators of Arkansas (a private non-governmental party), has no




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parent corporation and no publicly held corporation owns 10% or more of

its stock.

      48.    Defendant-Appellee Wellmark, Inc. (Wellmark Blue Cross

and Blue Shield of Iowa) (a private non-governmental party) has no

parent corporation and no publicly held corporation owns 10% or more of

its stock.

      49.    Defendant-Appellee      Wellmark     of   South      Dakota,    Inc.

(Wellmark Blue Cross and Blue Shield of South Dakota) (a private

non-governmental party) is a wholly owned subsidiary of Wellmark, Inc.

and no publicly held corporation owns 10% or more of its stock.

      The undersigned counsel for Defendants-Appellees further certify

that the list of those interested in the outcome of this appeal in The Home

Depot Appellants’ Brief is complete, with the following addition:

      Prosano, Inc.




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          STATEMENT REGARDING ORAL ARGUMENT

     This appeal raises no new questions of law, and the facts and legal

arguments are adequately presented in the briefs and record.

See Fed. R. App. P. 34(a)(2). Consequently, Defendants-Appellees do not

believe oral argument is necessary, unless, of course, it would aid the

Court in reaching a decision.




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                  STATEMENT OF JURISDICTION

     The District Court had federal question jurisdiction over the

proceedings below pursuant to 28 U.S.C. §§ 1331 and 1337(a).

     The     District   Court’s   Final    Approval     Order,     entered    on

August 9, 2022 and amended on September 7, 2022, is a final, appealable

order under 28 U.S.C. § 1291 because it resolved and dismissed with

prejudice all Subscriber Class claims.            (See Defendant-Appellee’s

Response to Jurisdictional Questions at 1–2 (Oct. 25, 2022) (Doc.72).)

Each Appellant is a member of one or more Settlement Classes and each

Appellant filed a timely objection to the approval of the Subscriber

Settlement in the District Court. (Id. at 2–4.) Appellants filed timely

appeals. (See Doc.1 (Sept. 7, 2022 notice of appeal by Topographic, Inc.

and Employee Services, Inc.); Doc.6 (Sept. 8, 2022 notice of appeal by

Home Depot); Doc.8 (Sept. 7, 2022 notice of appeal by Jennifer Cochran

and Aaron Craker); Doc.10 (Sept. 8, 2022 notice of appeal by David

Behenna).)




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                    STATEMENT OF THE ISSUES

     Defendants-Appellees address two issues, one raised by Home

Depot U.S.A., Inc. (“Home Depot”) (Doc.120), and one raised by

Topographic, Inc. and Employee Services, Inc. (together “Self-Funded

Objectors”) (Doc.121). 1

     Home Depot Appeal: Home Depot opted out of the Rule 23(b)(3)

Class but remains a member of the mandatory Rule 23(b)(2) Class that

released certain future claims.

     1.    Did the District Court abuse its discretion in approving a class

action settlement that releases future antitrust claims where all released

claims share an identical factual predicate to the settled litigation?

     Self-Funded Objectors’ Appeal:               Self-Funded Objectors are

“ASO” accounts that self-insure and purchase “administrative services

only” from Blue Plans.




   1 With respect to the other issues raised by Appellants (see Doc.120

at 54–60; Doc.122; Doc.124), Defendants-Appellees refer to the District
Court’s well-reasoned Final Approval Order (R.2931), and note that
Plaintiffs-Appellees’ brief addresses all arguments.


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     2.    Did the District Court abuse its discretion in finding ASO

damages claims do not relate back to a 2012 complaint brought by fully-

insured members that did not include ASOs in the case or putative class?




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                      STATEMENT OF THE CASE

I.       Factual Background and Procedural History

         A.   The Blue System

         Defendants-Appellees are Blue Cross Blue Shield Association

(“BCBSA”), the undersigned Blue Cross and Blue Shield Plans (“Blue

Plans” and, together with BCBSA, the “Blues”) and various affiliated

entities. (R.2931 at 1.) 2

         BCBSA owns and licenses the Blue Cross and Blue Shield federal

trademarks (“Blue Marks”) to the locally operated Blue Plans.

(R.2616 ¶¶357, 395.) These license agreements grant each Blue Plan the

right to use the Blue Marks within a defined geographic service area

(known as an exclusive service area or “ESA”), consistent with how the

Plans historically operated at common law. (R.120 at 14–15.) Blue Plans

then use the Blue brands to contract with local healthcare providers, on

the one hand, and subscribers, on the other, to offer healthcare benefit

products to Blue members nationwide—something no individual Blue




    Citations in the format “R.__at__” refer to docket entries in the
     2

District Court record, indicating the document and page number. All
page numbers refer to the document’s internal pagination unless
otherwise noted.


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Plan could do on its own given the Blues’ common law trademark

history. 3 (See R.2616 ¶2; R.120 at 14–15, 30–31.) The Blue system, and

the rules supporting it, enable Blue Plans to provide health insurance

coverage and administrative services to millions of people in the United

States and to compete with large national health insurers such as Aetna,

Cigna and UnitedHealthcare. (See R.120 at 30–31.)

     B.    The Antitrust MDL

     Starting in 2012, dozens of complaints challenging various Blue

rules were filed by subscribers and providers across the country. The

first complaint was Cerven v. Blue Cross & Blue Shield of N.C., No. 5:12-

cv-00017-RLV-DCK (W.D.N.C.), Doc.1 (“Cerven Complaint”), which was

filed on February 7, 2012, on behalf of fully-insured subscribers (i.e.,

subscribers that purchase health insurance products from Blue Plans).

A number of other complaints were soon filed, some brought by fully-

insured subscribers and others brought by providers. These complaints

all challenged certain core Blue rules, including the system of ESAs and


   3 The Blues offer coverage nationwide through the BlueCard Program,

which allows members of one Plan to receive in-network treatment in
another Plan’s ESA. (R.120 at 30–31.) This program has numerous
procompetitive benefits, and Plaintiffs-Appellees have not challenged it.
(See id.; R.2616.)


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National Best Efforts (“NBE”), 4 and alleged that those rules violated the

Sherman Act, 15 U.S.C. §§ 1–2, and related state laws. (R.1 at 1.)

     In 2013, these actions were consolidated into a multi-district

litigation (“MDL”) and transferred to the Northern District of Alabama.

(Id. at 3.)        Following consolidation, the MDL proceeded on two

tracks: the Subscriber-track (claims by putative classes of fully-insured

Blue members), and the Provider-track (claims by putative classes of

various types of hospitals, physicians and other professionals).

(See R.61.)

              1.    2018 Standard of Review Decision

     In 2018, the District Court was asked to set the standard of review

for the antitrust claims in the Subscriber- and Provider-track cases. The

District Court found the combination of ESAs and NBE was to be

analyzed under the per se standard of review, but “expresse[d] no view

about whether the ESAs alone qualify as a per se Sherman Act violation.”

(R.2063 at 22, 59.)




   4 NBE ensured that Plans were committed to developing Blue-branded

business by requiring each Plan to derive a certain percentage of its
national health insurance revenue under the Blue brands. (R.1353-1
at 10–11 (¶25).)


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     After issuing its decision, the District Court acknowledged there

was “substantial ground for difference of opinion”, and certified the

decision for interlocutory review. (R.2203 at 1; R.2931 at 47.) This Court

denied the request for leave to file an interlocutory appeal.

(No. 18-90020-E, R.42-2.)

           2.    Self-Funded Claims

     On November 2, 2020, almost nine years after the Cerven

Complaint was filed, Subscribers filed a Fourth Amended Complaint.

(R.2616.) This complaint added, for the first time, a putative class of

claims by self-funded subscribers. (Id. at 2, ¶2.) Self-funded accounts

are also referred to as “ASOs”. Unlike fully-insured subscribers, ASOs

are entities that purchase “administrative services only” from a Blue

Plan, such as access to the Plan’s provider networks and claims

processing services. (Id. ¶2.) Importantly, ASOs do not purchase health

insurance; rather, they spread their own risk and self-finance the cost of

their members’ care, while purchasing services from Blue Plans to

facilitate their members’ healthcare coverage.          (See id.)    No prior

Subscriber-track complaint had asserted any claims on behalf of self-

funded subscribers. (See R.85; R.244; R.843; R.1082.)



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II.   The Settlement

      A.   The Settlement Negotiations

      In 2015, three years into the litigation, Subscriber-Plaintiffs and

the Blues began settlement discussions. (R.2931 at 3.) The parties

engaged a mediator—and then, in 2017, a Special Master—to oversee

“scores” of regular mediation sessions. (Id.) Over the course of five years,

Subscriber-Plaintiffs and the Blues conducted “protracted, complicated,

and challenging” negotiations in an effort to resolve the “extraordinarily

complex” Subscriber claims. (Id. at 2–3.)

      In 2019, separate counsel joined the negotiations on behalf of a

plaintiff who would serve as the representative of a sub-class of ASOs

(the “Self-Funded Subclass”).     (See id. at 4.)     Self-Funded Subclass

counsel asked for and received from Subscriber-Plaintiffs access to the

discovery record in the litigation, along with relevant briefing on class

certification and summary judgment. (Id.) Self-Funded Subclass counsel

engaged their own independent experts to analyze potential damages

claims on behalf of the Self-Funded Subclass and—together with

Subscriber Class counsel—engaged a neutral third party to mediate the




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allocation of the monetary relief between fully-insured and Self-Funded

Subclass members. (Id.)

     On October 16, 2020, the Subscriber Class representatives, the Self-

Funded Subclass representative and the Blues entered into a Settlement

Agreement.      (R.2610-2.)   The District Court granted Subscriber-

Plaintiffs’ motion for preliminary approval of the Settlement on

November 30, 2020. (R.2641.) The District Court explained that the

Blues had agreed to pay $2.67 billion (the “Settlement Fund”) and to

make “historic and substantial” structural changes to the Blues’

businesses, including total elimination of NBE. (Id. at 1, 4, 7.)

     B.    The Settlement Terms and Relief

           1.    The Settlement Classes

     The Settlement resolves claims on behalf of two classes of Blue

subscribers: (1) an indivisible injunctive relief class under Rule 23(b)(2)

(the “Rule 23(b)(2) Class”); and (2) a damages and divisible injunctive

relief class under Rule 23(b)(3) (the “Rule 23(b)(3) Class”) (together, the

“Settlement Classes”). (R.2610-2 ¶¶1(v), 1(pp).) Each Settlement Class

includes both fully-insured subscribers and ASOs.                 (Id.)     The

Rule 23(b)(3) Class contains the Self-Funded Subclass with its own class



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representative and class counsel. (Id. ¶1(v); R.2931 at 8–9.) Subscribers

negotiated an approximately 12-year class period for fully-insured

subscribers, from February 7, 2008—four years prior to the filing of the

Cerven complaint—through October 16, 2020, for members of both the

Rule 23(b)(2) and Rule 23(b)(3) Settlement Classes. (R.2610-2 ¶1(nnnn);

R.2931 at 7–8.) The Self-Funded Subclass, through its separate counsel,

negotiated        an        approximately       five-year    class       period,    from

September 1, 2015, through October 16, 2020.                   (R.2610-2 ¶1(nnnn);

R.2865 at 197:16–198:3.)

                       a.     The Rule 23(b)(3) Class

     With respect to the $2.67 billion Settlement Fund, after deducting

attorneys’ fees, expenses and costs, 93.5% is allocated to damages awards

to the fully-insured members of the Rule 23(b)(3) Class, and 6.5% is

allocated    to    damages         awards       to   the    Self-Funded       Subclass.

(See R.2610-2 ¶¶1(oooo), 28; R.2931 at 10, 35–36.) Additionally, certain

Self-Funded Subclass members in the Rule 23(b)(3) Class will receive the

right to request a “Second Blue Bid” when seeking a new contract for ASO

services. (See R.2931 at 6, 40.)




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                 b.     The Rule 23(b)(2) Class

     The Settlement also requires significant structural changes to the

Blues’ business. (Id. at 3.) This relief includes: (i) elimination of NBE

(R.2610-2 ¶10); (ii) changes surrounding Blue Plan bidding for national

accounts, including provisions concerning certain large multi-Service

Area accounts (id. ¶14(a)), and accounts with Independent Health

Benefit Decision Locations (id. ¶14(b)); (iii) limitations on the conditions

that can be imposed to disallow acquisition of Blue Plans (id. ¶17); and

(iv) provisions addressing other aspects of the Blues’ business, including

Self-Funded Account contracting with Non-Provider Vendors and/or

Specialty Service Provider Vendors (id. ¶12), and Most Favored Nations

Clauses (id. ¶18). The Settlement also created a Monitoring Committee

and compliance process to oversee compliance with the Settlement,

mediate certain disputes related to the Settlement, and assess whether

new BCBSA rules and regulations related to the Settlement relief comply

with the Settlement’s terms. (Id. ¶¶1(xx), 1(zz), 20; R.2931 at 14–15.)

Finally, the Settlement acknowledges the continuation of ESAs in light

of these significant changes. (R.2610-2 ¶13.)




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     C.    The Settlement Release

     The Settlement provides that Settlement Class Members release all

claims, including future claims, against the Blues that are:

     based upon, arising from, or relating in any way to: (i) the
     factual predicates of the Subscriber Actions (including but not
     limited to the Consolidated Amended Class Action
     Complaints filed in the Northern District of Alabama)
     including each of the complaints and prior versions thereof, or
     any amended complaint or other filings therein from the
     beginning of time through the Effective Date; (ii) any issue
     raised in any of the Subscriber Actions by pleading or motion;
     or (iii) mechanisms, rules, or regulations by the Settling
     Individual Blue Plans and BCBSA within the scope of
     Paragraphs 10 through 18 approved through the Monitoring
     Committee Process during the Monitoring Period.

(R.2610-2 ¶1(uuu).) Settlement Class Members retain the right to assert

certain claims relating to coverage, benefits and administration of claims

arising in the ordinary course of business if they are not “based in whole

or in part on the factual predicates of the Subscriber Actions or any other

component of the Released Claims discussed in this Paragraph”. (Id.)

     Although Rule 23(b)(2) Class members released any “claims for

indivisible injunctive or declarative relief against the Releasees” based

on the same factual predicates as the Subscriber Actions (defined in the

Settlement Agreement (see R.2610-2 ¶1(uuuu))) (R.2939 at 1–2), those




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who opted out of the Rule 23(b)(3) Class may continue to pursue “any

claims for individualized declaratory or injunctive relief” (id. at 2).

     D.     No Admission of Wrongdoing

     Finally, the Settlement provides that nothing in its terms is to “be

construed as an admission of liability or wrongdoing”, which Defendants-

Appellees continue to “expressly deny”. (R.2610-2 ¶9(a).)

III. Final Approval of the Settlement

     A.     The Present Objections

     As relevant to these Appeals, on July 28, 2021, Self-Funded

Objectors   objected    to   the   proposed      Settlement.         (R.2812-19

at ECF 75–116.) Self-Funded Objectors are ASOs that challenge the

allocation of the Settlement Fund as inequitable.            They argued the

“claims periods” must be “equal” between fully-insured and Self-Funded

Subclass members, on their insistence that Self-Funded claims also

relate back to the original Cerven complaint. (Id. at ECF 90–96.)

     On September 3, 2021, Appellant Home Depot, which opted out of

the Rule 23(b)(3) Class but remained a member of the Rule 23(b)(2) Class,

objected to the Settlement.     (R.2812-20 at ECF 7–55.)           Home Depot

argued that the Settlement’s release of the Rule 23(b)(2) “class members’




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rights to pursue future equitable and injunctive relief would violate the

public policy established by the antitrust laws.” (Id. at ECF 19–32.)

     B.    The Final Approval Order

     On August 9, 2022, the District Court entered an order granting

final approval to the Settlement (“Final Approval Order”). (R.2931.) The

District Court examined the Settlement and found it satisfies Rule 23(e)

because it is fair, reasonable and adequate. (Id. at 26.) In particular, the

District Court found that: Settlement Class Members, including the Self-

Funded Subclass, were adequately and “vigorously represented”; the

Settlement was “extensively negotiated” at arm’s length “with the

assistance of experienced mediators and . . . subject matter experts”; the

Settlement provides adequate relief, as it gives “immediate and

substantial benefits to tens of millions of Class Members” that

Subscriber-Plaintiffs were uncertain to secure in litigation; and

Settlement Class Members were treated equitably as compared to one

another. (Id. at 30–33, 35–38.)

     The District Court carefully considered and overruled all objections.

It rejected Self-Funded Objectors’ argument that the Settlement

allocation is inequitable, finding instead that “the distribution plan is



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fair, adequate, and reasonable”. (Id. at 56–59.) Additionally, the District

Court found that “the allocation is justified by the different time periods

for the classes” because “[t]he Cerven complaint plainly did not

contemplate ASOs being part of that case”, and, thus, the Self-Funded

Subclass could not “get the benefit of the Cerven filing date”.

(Id. at 59–61.)

     The District Court likewise rejected Home Depot’s objection that

the Settlement’s release of future claims is impermissible, instead

concluding that, consistent with established caselaw, the Settlement

properly releases claims with an “identical factual predicate” to the

Subscriber Actions. (Id. at 50–56.)

     The District Court also overruled a separate objection by Home

Depot that the Settlement would perpetuate illegal conduct, instead

finding that “the post-Settlement Blue System will not be clearly illegal”

based upon the “material changes to the Blues’ going-forward system

which add significant procompetitive features”, and “the uncertainty”

surrounding the Court’s 2018 standard of review decision. (Id. at 46–48.)

The District Court also referred to a separate decision issued the same

day in which it concluded that ESAs alone, without NBE (which the Blues



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eliminated, consistent with the Settlement), were to be evaluated under

the rule of reason. (Id. at 47.) This decision was issued in the Provider-

track, with a full record before the District Court. Appellants, including

Self-Funded Objectors and Home Depot, filed timely appeals.




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                        STANDARD OF REVIEW

     This Court reviews a district court’s approval of a class action

settlement for abuse of discretion. Ault v. Walt Disney World Co., 692

F.3d 1212, 1216 (11th Cir. 2012). 5 Because “[d]etermining the fairness

of the settlement is left to the sound discretion of the trial court”, this

Court “will not overturn [its] decision absent a clear showing of abuse of

that discretion”. Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir.

1984). This deferential standard of review is “informed by the strong

judicial policy favoring settlement”. Id.; see also In re Nissan Motor Corp.

Antitrust Litig., 552 F.2d 1088, 1105 (5th Cir. 1977).

     A district court abuses its discretion only “if it applies an incorrect

legal standard, follows improper procedures . . . or makes findings of fact

that are clearly erroneous.” Adams v. So. Farm Bureau Life Ins. Co., 493

F.3d 1276, 1285 (11th Cir. 2007). “[Q]uibbling with a settlement’s terms

is not a part of an abuse of direction review.” In re Equifax Inc. Cust.

Data Sec. Breach Litig., 999 F.3d 1247, 1274 (11th Cir. 2021). As this

Court has repeatedly emphasized, “the abuse of discretion standard



   5 Unless otherwise noted, all internal quotation marks are omitted and

all emphases are added.


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allows a range of choice for the district court, so long as that choice does

not constitute a clear error of judgment.” See, e.g., Waters v. Int’l Precious

Metals Corp., 190 F.3d 1291, 1293 (11th Cir. 1999); see also Greco v. Ginn

Dev. Co., 635 F. App’x 628, 631 (11th Cir. 2015).




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                  SUMMARY OF THE ARGUMENT

     The District Court carefully reviewed the Settlement and concluded

that it was fair, reasonable and adequate, particularly given the

substantial litigation risks facing Subscribers.             The Settlement

appropriately balances relief for the class (i.e., substantial monetary

damages and broad changes to the Blues’ businesses), with finality for

the Blues (i.e., release of certain claims predicated on pre-settlement

conduct). The District Court did not abuse its discretion in approving the

Settlement, and each of Appellants’ arguments to the contrary is wrong.

     First, Home Depot argues that the Settlement release violates

public policy because it prevents Rule 23(b)(2) Class members from

bringing future antitrust challenges to the Blue system. However, a

settlement may release future claims that share an “identical factual

predicate” to settled litigation. That is precisely what the release here

does, and the District Court did not abuse its discretion in reaching this

conclusion. (Section I.A.1–2.)

     This is true, notwithstanding that the release covers claims that

“relat[e] in any way to” the Subscriber Actions. Releases of claims that

“relate in any way to” settled litigation are still cabined to the factual



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predicate of the underlying matter, which is the critical touchstone of the

analysis. Indeed, courts routinely approve releases of claims that “relate

in any way to” the factual predicates of settled litigation, and the District

Court did not abuse its discretion in doing the same. (Section I.A.3.)

     Home Depot also argues that the District Court erred because the

caselaw permitting future releases does not apply in antitrust cases. But

Home Depot does not cite a single case holding that, and for good

reason: it is not the law.       Indeed, the logic underpinning future

releases—promotion      of   settlement,    with    all   of   the    attendant

efficiencies—applies with full force in antitrust cases. For this reason,

Home Depot’s criticism of the cases cited by the District Court—that none

provides an antitrust-specific rationale—also misses the mark. What

matters is that the released claims share an identical factual predicate

to the settled litigation, not the type of case being settled or claims being

released. (Section I.B.)

     Unable to prevail on the law, Home Depot mischaracterizes the

release. According to Home Depot, this release violates public policy

because it prevents enforcement of the antitrust laws. Not so. Although

the Settlement fully releases certain claims of Settlement Class



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Members—including the right of Rule 23(b)(2) Class members to assert

“claims for indivisible injunctive or declarative relief against the

Releasees” based on the same factual predicates as the Subscriber

Actions—subscribers who are not Settlement Class Members remain free

to pursue whatever challenges to the Blue system they want, including

disputing the very conduct at issue and released in the Settlement.

(Section I.C.1.) This Court has also already considered and rejected

Home Depot’s public policy arguments in In re Managed Care, 756 F.3d

1222 (11th Cir. 2014). (Section I.C.2.)

     Finally, Home Depot argues that its public policy concerns are “not

negate[d]” by the District Court’s August 2022 standard of review

decision in the Provider-track holding that the rule of reason applies to

claims challenging the Blues’ ESAs alone. But the District Court did not

mention its Provider-track standard of review decision in overruling

Home Depot’s objections about the release. Rather, the Court referenced

that decision in overruling an entirely separate objection that the

Settlement perpetuates a per se violation of the Sherman Act,

determining that the post-Settlement Blue system is not “clearly illegal”

within the meaning of governing caselaw. This decision, while plainly



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correct, was entirely unrelated to the Court’s decision to overrule Home

Depot’s public policy arguments about the scope of the release.

(Section I.D.)

     Second, Self-Funded Objectors argue that the Self-Funded

Subclass’s damages period should have extended back to 2008 because

the Self-Funded Subclass’s claims “relate back” under FRCP 15(c) to the

original Cerven action, filed in 2012. That too fails because Self-Funded

Objectors have not shown that the Court’s factual finding that the claims

do not relate back was clearly erroneous.

     Self-Funded Objectors acknowledge that “[t]he critical issue in

Rule 15(c) determinations is whether the original complaint gave

notice to the defendant of the claim now being asserted.” Applying that

standard, the District Court correctly held that “[t]he Cerven complaint

simply gave no notice to Defendants whatsoever that they would have to

defend against alleged misconduct in the ASO market.” The Court found

as a matter of fact that, “under a fair reading of the Cerven Complaint,

ASOs are excluded from both the proposed damages and the injunction

classes.” That was right—and certainly not clearly erroneous—because

the plain language of the Cerven class definitions does not include ASOs,



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and other allegations in the Cerven Complaint confirm that ASOs were

not part of the Cerven action. (Section II.A.)

     Self-Funded Objectors’ other arguments likewise fail. Self-Funded

Objectors contend that the Blues’ statement in a 2013 motion to dismiss

shows they understood that Self-Funded claims were at issue in Cerven.

Even if that were true, it would be irrelevant. Relation back does not

turn on “actual” or subjective notice; rather, it turns on whether the prior

complaint, on its face, gave notice of Self-Funded claims. It did not.

Self-Funded Objectors also argue that all members of the Self-Funded

Subclass are members of the putative injunctive relief class in Cerven

because some self-funded entities purchase stop-loss insurance. But the

Cerven class definition includes persons or entities who were “insured”,

referring to a risk-sharing health insurance product. Stop-loss insurance

is not health insurance; it is a general back-stop against excessive loss.

Nor is stop-loss insurance mentioned anywhere in the Cerven Complaint.

Moreover, the Self-Funded Subclass does not uniformly purchase stop-

loss insurance. Rather, the defining characteristic of an ASO is that it

self-insures. (Section II.B.)




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                               ARGUMENT

I.     The District Court Did Not Abuse Its Discretion in
       Approving the Settlement Release

       After nearly a decade of litigation, the parties reached a Settlement

that involved a massive monetary payment and “historic” changes to the

Blues’ businesses. (Supra at 7–12.) As a condition of settlement, the

Blues required preservation of their lawful and defensible ESAs and a

standard release in cases of this sort—including a release of future

claims related to the factual predicates of the settled litigation. (Id.)

This release is to “be interpreted and enforced broadly and to the fullest

extent permitted by law.” (R.2610-2 ¶32.) Make no mistake: without

these provisions, there would have been no Settlement.

       Nevertheless, Home Depot argues the District Court “erred by

approving a compulsory and perpetual release of the 23(b)(2) class

members’ rights to seek declaratory and injunctive relief.” (HD.23.) 6

According to Home Depot, the Settlement’s release prevents future

enforcement of the antitrust laws and, therefore, “violates public policy”.

(Id.) But Home Depot misstates the law regarding future releases, and




     6 Numbers following brief citations refer to internal pagination.




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misconstrues the District Court’s findings about this release. Its appeal

is meritless.

     A.      The Settlement Properly Releases Future Claims
             with an Identical Factual Predicate to the
             Subscriber Actions

     In approving the Settlement, the District Court followed

established precedent to hold that releases of future antitrust claims are

permissible where the released claims share an “identical factual

predicate” to the settled litigation. (R.2931 at 50–56.) The District Court

did not err in finding the release here to be squarely within this caselaw

and permitted by Rule 23.       Home Depot’s opposing arguments are

incorrect.

             1.   Releases of Future Claims Are Lawful Where the
                  Released Claims Share an Identical Factual
                  Predicate to the Settled Litigation

     As the District Court recognized, “federal class action settlements

routinely include releases waiving future claims”. (R.2931 at 53.) Such

releases are lawful and within the bounds of Rule 23, so long as the

released claims arise from an “identical factual predicate” as the settled

litigation. See Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 107

(2d Cir. 2005) (affirming antitrust class settlement and noting that “class



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action releases may include claims not presented and even those which

could not have been presented as long as the released conduct arises out

of the ‘identical factual predicate’ as the settled conduct”); Williams v.

Gen. Elec. Cap. Auto Lease, Inc., 159 F.3d 266, 274 (7th Cir. 1998)

(affirming injunction barring claims “based on the identical factual

predicate” as the settled litigation and noting that “it is not at all

uncommon for settlements to include a global release of all claims past,

present, and future, that the parties might have brought against each

other”); In re Managed Care Litig., 2008 WL 11333988, at *5 (S.D. Fla.

Apr. 21, 2008), report and recommendation adopted, 2008 WL 11333876

(S.D. Fla. May 14, 2008); Mcguire v. Intelident Solutions, LLC, 2020 WL

10506642, at *4–5 (M.D. Fla. Sept. 2, 2020), report and recommendation

adopted, 2020 WL 10506644 (M.D. Fla. Sept. 28, 2020) (finding

settlement fair and reasonable where release encompassed unpleaded

claims “arising out of the identical factual predicate as the settled

claims”); (R.2931 at 53–54). This “legal construct[] allow[s] plaintiffs to

release claims that share the same integral facts as settled claims”, even

if those claims have not yet been asserted. Wal-Mart, 396 F.3d at 106.

The permissibility of such releases is “well established”. Id. at 107.



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     The rule permitting future releases makes good sense, as courts

around the country have recognized. “Practically speaking, [c]lass action

settlements simply will not occur if the parties cannot set definitive limits

on defendants’ liability.” Id. at 106; see also In re Prudential Ins. Co. of

Am. Sales Prac. Litig., 261 F.3d 355, 366–67 (3d Cir. 2001) (affirming

enforcement of “very broad” settlement release and explaining that

refusal to enforce would “seriously undermine the possibility for settling

any large, multi-district class action” because “[d]efendants in such suits

would always be concerned that a settlement of the federal class action

would leave them exposed to countless suits . . . despite settlement”).

“[B]road releases . . . tend to serve, rather than disserve, the public

interest, which favors and encourages the settlement of claims between

parties and [thus] permits them to release future damages as part of a

settlement agreement.” Managed Care, 2008 WL 11333988, at *9.

     Applying these principles in the antitrust context, 7 courts routinely

approve and enforce releases of future claims where the released claim


   7 Federal courts applying Rule 23 regularly approve antitrust class

action settlements releasing claims related to the facts in the settled
litigation, just as the District Court did here. See, e.g., In re Payment
Card Interchange Fee & Merch. Disc. Antitrust Litig., 2019 WL 6875472,


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involves a continuation of a defendant’s pre-release conduct; by contrast,

a release of future claims based on new, different conduct occurring after

the settlement is not permissible. See, e.g., In re Managed Care Litig.,

2010 WL 6532982, at *12 (S.D. Fla. Aug. 15, 2010) (finding release valid

because it “only applies to claims that relate to the course of conduct that

originated before the date” of the settlement, and not “new” violations

“that arise from a brand new set of events and course of conduct than the

one settled” in the prior litigation); Payment Card, 2019 WL 6875472,

at *26 (noting cases finding releases void “largely contemplate

impermissibly broad releases that released all types of claims, including

‘future’ entirely unrelated antitrust claims not circumscribed to an

identical factual predicate or to claims that arose out of the alleged

conduct or related conduct that could have been alleged”); MSG, L.P. v.

NHL, 2008 WL 4547518, at *8 (S.D.N.Y. Oct. 10, 2008) (noting the

“considerable support in the caselaw” for the proposition that releases



at *22–26 (E.D.N.Y. Dec. 16, 2019); Bradburn Parent Tchr. Store, Inc. v.
3M, 513 F. Supp. 2d 322, 346–47 (E.D. Pa. 2007); In re Terazosin
Hydrochloride Antitrust Litig., 2005 WL 8181045, at *2 (S.D. Fla.
Apr. 20, 2005); In re Visa Check/Mastermoney Antitrust Litig., 297
F. Supp. 2d. 503, 512–16 (E.D.N.Y. 2003), aff’d, Wal-Mart, 396 F.3d
at 107–08.


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may lawfully bar future antitrust claims “when the only ‘prospective’

application of the release in question is the continued adherence to a pre-

release restraint”).    There is “considerable caselaw” drawing and

approving of this distinction, as the District Court noted.            (R.2931

at 54–55.)

     Indeed, this Court has previously enforced a class action release to

bar future antitrust claims on these very grounds. See In re Managed

Care, 756 F.3d 1222, 1236 (11th Cir. 2014) (holding class action release

barred plaintiffs’ antitrust claims challenging defendant’s post-

settlement conduct because that conduct “merely constitute[s] a

continuation of the conspiracy alleged in [the settled litigation]”). And

other circuits have likewise enforced releases barring antitrust claims

based on a defendant’s continued adherence to challenged pre-settlement

conduct. See, e.g., MCM Partners, Inc. v. Andrews-Bartlett & Assocs.,

Inc., 161 F.3d 443, 448 (7th Cir. 1998) (enforcing release where claim

challenging continuing conduct was “clearly based” on pre-release

conduct).




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           2.    The District Court Did Not Abuse Its Discretion
                 in Concluding That the Release Here Falls
                 Within the Identical Factual Predicate Doctrine

     Consistent with this caselaw, the District Court did not abuse its

discretion in approving the Settlement Agreement’s broad release,

because that release properly covers claims with an identical factual

predicate as the Subscriber Actions.

     The    Settlement     Agreement       releases    three       categories   of

claims: those “based upon, arising from, or relating in any way to” (i) “the

factual predicates of the Subscriber Actions”; (ii) “any issue raised in any

of the Subscriber Actions”; and (iii) “mechanisms, rules or regulations”

by the settling Defendants within the scope of the Settlement’s injunctive

relief provisions that are approved by the Monitoring Committee.

(R.2931 at 50–52; R.2610-2 ¶1(uuu).) Each of these categories of claims

“by definition arise from continued adherence to the existing

arrangements that are the factual predicates of the Subscribers Actions

or the injunctive relief provided under the Agreement”. (R.2931 at 56.)

     This is true even for category (iii) (“mechanisms, rules or

regulations” within the scope of the injunctive relief provisions that are

approved by the Monitoring Committee). As the District Court correctly



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concluded, “[t]he Monitoring Committee is not empowered to approve,

much less immunize from antitrust scrutiny, any new restraints, new

arrangements, or future conduct adopted by the Blues that are not within

the scope of the matters addressed in the provisions of the Settlement

Agreement[.]”      (Id. at 53 (quoting R.2812-1 at 70); see also

R.2610-2 ¶¶10–18, 20 (tasking Monitoring Committee with reviewing

“actions to be taken adopting rules or regulations that are within the

scope of Paragraphs 10–18”, i.e., the Settlement’s injunctive relief

provisions); id. ¶20(a)(iii) (“If the arbitrators find that the rule,

regulation, or action is outside the scope of Paragraphs 10–18, the rule

will not constitute a Released Claim.”).) As a result, even with respect to

category (iii), “the only new rules and regulations that may be subject to

the release are those based on an identical factual predicate and related

to the injunctive relief provided by” the Settlement Agreement. (R.2931

at 54.)

      The District Court, therefore, did not abuse its discretion in finding

this release falls squarely within the identical factual predicate doctrine.




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             3.    The Propriety of the Release Is Not Impacted by
                   the Phrase, “Relating in Any Way To”

        Home Depot argues that “the release here exceeds [the]

parameters” of the identical factual predicate doctrine because, “[r]ather

than requiring an identical factual predicate”, the release covers future

claims “relate[d] in any way to” the factual predicates of the Subscriber

Actions. (HD.43.) But these words do not take the release outside the

rule.

        Releases that “relate in any way to” are still cabined to the factual

predicate of the underlying litigation, which is the touchstone of the

analysis. See Carr v. Ocwen Loan Servicing, 2014 WL 12860083, at *5

(N.D. Ga. Apr. 25, 2014) (“The Court finds the proposed Release is

appropriate. The Release is not a general one, but is limited to claims

‘arising in whole or in part from, or in any way whatsoever relating to, the

February 16, 2013 Letter.’ The Release, in other words, would preclude

only those claims that are ‘based on the identical factual predicate as that

underlying the claims’ at issue here.”); see also Managed Care, 2008 WL

11333988, at *9. Not surprisingly, then, courts routinely approve class

action releases of claims that “relate in any way to” the factual predicates

of settled litigation. See, e.g., TVPX ARS, Inc. v. Genworth Life & Annuity


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Ins. Co., 959 F.3d 1318, 1322 (11th Cir. 2020) (discussing class action

settlement releasing future claims “related to in any way” the facts or

issues raised in the settled litigation); Managed Care, 756 F.3d at 1226

(enforcing class action release of claims “arising out of, or in any way

related to any of the facts” of the settled litigation); Visa, 297 F. Supp. at

512–16 (approving release of claims “relating in any way to any conduct

prior to January 1, 2004 concerning any claims alleged in the

Complaint”), aff’d, Wal-Mart, 396 F.3d at 107–08.

      In arguing for a different conclusion, Home Depot conflates two

distinct questions: whether a release is lawful and may be approved in

the first instance (the question here), with whether a subsequently

asserted claim falls within the scope of a previously approved release (a

question that cannot be answered now). (See R.2931 at 56 n.22.) Home

Depot’s own cases prove this point. (See HD.42–43.) Of all the cases cited

by Home Depot in this portion of its brief, only two involved applying a

settlement release: TVPX and Kazi v. PNC Bank, N.A., 2021 WL 965372

(N.D. Cal. Mar. 15, 2021).8 Critically, both cases involved applying a


   8 The other cases do not even involve the application of a settlement

release. See Lucky Brand Dungarees, Inc. v. Marcel Fashions Grp., Inc.,


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release that had already been approved—not striking down a release at

the approval stage, which is what Home Depot requests here. TVPX, 959

F.3d at 1325–28 (examining whether conduct alleged fell within the

scope of a previously-approved release); Kazi, 2021 WL 965372, at *16–18

(same). And tellingly, the previously-approved TVPX release had almost

the exact language Home Depot now contends is impermissible—it

covered all claims “related to in any way” the facts or issues in settled

litigation—and yet that release was approved. 959 F.3d at 1322.

     B.    There Is No “Antitrust Exception” to the Law
           Permitting Future Releases

     Home Depot also argues the District Court erred because, it says,

the law permitting future releases does not apply to antitrust




140 S. Ct. 1589, 1596 (2020) (defendant’s failure to assert defense in prior
action did not bar ability to assert it in subsequent action because the
two suits “lacked a common nucleus of operative facts”); Herrera v.
Wyoming, 139 S. Ct. 1686, 1698 (2019) (prior decision did not bar
subsequent claim because decision relied on caselaw that was later
repudiated); Miller’s Ale House, Inc. v. Boynton Carolina Ale House, LLC,
702 F.3d 1312, 1317–21 (11th Cir. 2012) (plaintiffs’ claim barred by issue
preclusion due to prior judgment); Se. Fla. Cable, Inc. v. Martin Cnty.,
173 F.3d 1332, 1334, 1336–37 (11th Cir. 1999) (prior judgment had no res
judicata effect on subsequent claim because the two actions did not arise
from the same operative nucleus of fact).


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settlements. (See HD.23–42.) Home Depot is wrong; the law does not

treat antitrust settlements any differently than other settlements.

     As an initial matter, Home Depot does not cite a single case holding

that releases of future claims based on a defendant’s continuing pre-

release conduct are flatly prohibited in the antitrust context. Rather, the

two cases Home Depot cites (id. at 34–35 n.122) concern the applicability

of the statute of limitations, not the permissible scope of an antitrust

class action settlement release. See Klehr v. A.O. Smith, 521 U.S. 179,

182 (1997); Morton’s Mkt., Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823,

826 (11th Cir. 1999).

     Home Depot cites these cases in a misguided attempt to show that

“continuing to sell under an existing competitive restraint” necessarily

constitutes a new “future antitrust violation” that must fall outside the

bounds of any valid release.     (HD.35.)      But courts considering this

argument in the settlement release context have rejected it. See, e.g.,

MCM, 161 F.3d at 448 (rejecting argument that “each act in furtherance

of a conspiracy gives rise to a separate cause of action and, therefore,

actionable violations based on [defendant’s] post-Release conduct”);

Managed Care, 756 F.3d at 1236 (“[A]ll facts necessary to state a cause



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of action had occurred long before the Settlement Agreement took effect.

The fact that Appellants seek to base the new claims on certain conduct

post-dating the Effective Date does not change this conclusion. Because

they merely constitute a continuation of the conspiracy alleged in [the

settled litigation, Appellee’s] purported bad acts are best seen as new,

overt acts within an ongoing conspiracy, rather than new claims in and

of themselves.”); MSG, 2008 WL 4547518, at *8. Home Depot does not

cite one case to the contrary. 9

       Unable to come up with any apposite cases of its own, Home Depot

resorts to attacking the abundant caselaw cited by the District Court.

(R.2931 at 53–55.) According to Home Depot, this plentiful caselaw is

“neither binding nor persuasive” in the antitrust context (HD.35), even

though many of the cited cases are antitrust cases.




   9 Nor is Home Depot helped by In re Smith, 926 F.2d 1027 (11th
Cir. 1991), which it cites for the general proposition that settlements may
not release “a continuing violation of federal statutory law”. (HD.34.) To
start, Smith involved this Court reversing the district court’s decision to
disallow a settlement as against public policy.            Id. at 1029–30.
Furthermore, Home Depot fails to acknowledge this Court’s clear
guidance in Smith that “[s]ettlements are void against public policy . . .
only if they directly contravene a state or federal statute or policy”, a
concern absent here. Id. at 1029; (see infra Section I.D).


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     First, Home Depot argues that Managed Care, 2008 WL 11333988,

and Wal-Mart, 396 F.3d 96, are not informative, because those decisions

discuss waiver of future claims through the lens of “due process

principles” and do not discuss “whether substantive antitrust policy

independently bars a prospective release to protect the public interest in

competition”.    (HD.36, 37–38.)        But that is precisely the point:

“substantive antitrust policy” has nothing to do with the analysis. As set

forth above, “[t]he law is well established . . . that class action releases

may include claims not presented and even those which could not have

been presented as long as the released conduct arises out of the ‘identical

factual predicate’ as the settled conduct.” Wal-Mart, 396 F.3d at 107; see

also Managed Care, 2008 WL 11333988, at *5 (“Although it is well

established that ‘federal class action settlements routinely include

releases waiving future claims,’ only those claims that arise from an

‘identical factual predicate’ as the settled litigation may be released by

the terms of a class action settlement agreement.”). The type of lawsuit

being settled, or the kind of claims being released, is irrelevant. Indeed,

Wal-Mart was an antitrust case, and the court nevertheless upheld the

broad settlement release in that case. 396 F.3d at 106–09.



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     Second, Home Depot criticizes the District Court’s citations to

Managed Care, 2010 WL 6532982, and Payment Card, 2019 WL 6875472,

because these cases supposedly do not explain “why” the law ought to

distinguish between releases of new and distinct conduct, on the one

hand, and continued adherence to pre-release conduct, on the other,

where alleged antitrust violations are concerned. (HD.38–39.) Again,

Home Depot’s critique misses the mark. These decisions do not articulate

an antitrust-specific rationale because the type of case does not matter.

Instead, what matters is whether the release concerns a continuation of

pre-release conduct stemming from the same factual predicate—as the

release here does—or whether it involves entirely “new” distinct events

that arose for the first time post-settlement. See Managed Care, 2010

WL 6532982, at *12 (enforcing future release because it “only applies to

claims that relate to the course of conduct that originated before the date

of the [settlement]” and “[i]n no way . . . immunize[s] [the defendant]

from liability against new” claims “that arise from a brand new set of

events and course of conduct than the one settled”); Payment Card, 2019

WL 6875472, at *26 (noting cases finding releases void due to antitrust

policy “largely contemplate impermissibly broad releases that released



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all types of claims, including ‘future’ entirely unrelated antitrust claims

not circumscribed to an identical factual predicate or to claims that arose

out of the alleged conduct or related conduct that could have been

alleged”). Proving this point, both Managed Care and Payment Card

involved releases of future antitrust claims, and this is the distinction

both courts drew and applied.

     Third, Home Depot argues that MCM, 161 F.3d 443—which Home

Depot concedes “was an antitrust case”—is distinguishable because the

release in that case “does not attempt to release claims for future

violations”. (HD.38.) That is wrong. While it is true that the settlement

in MCM released “any and all claims” arising “from the beginning of the

world to April 25, 1992”, the Seventh Circuit nonetheless held that it

barred claims challenging conduct after April 25, 1992 because that

conduct was based on “continued adherence” to a pre-settlement alleged

conspiracy. 161 F.3d at 446–48. As the court explained: “MCM contends

that Andrew-Bartlett’s refusal to deal with MCM from July 1992 until

October 1994, based on an alleged continued adherence to the April 1992

agreement, gives rise to non-barred causes of action. However, this claim

is clearly based on pre-April 25, 1992 conduct and, as such, is expressly



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barred by the Release.” Id. at 448. In other words, Andrews-Bartlett’s

post-release conduct was covered by the release because it was a

continuation of pre-release conduct, rather than truly “new” alleged

antitrust violations. That was the meaningful distinction the court drew

in MCM, and that is why the District Court cited the case. (R.2931 at 55.)

     Finally, Home Depot argues that some cases cited by the District

Court are “irrelevant” (see HD.36–37), but that is only because Home

Depot takes those cases out of context. Each of these cases stands for the

plainly correct proposition that releases of future claims in class action

settlements are both common and unobjectionable, and that is why the

District Court cited them. (R.2931 at 53.) See, e.g., McClendon v. Ga.

Dep’t of Cmty. Health, 261 F.3d 1252, 1254 (11th Cir. 2001) (setting forth

a release of future claims); Ass’n for Disabled Am., Inc. v. Amoco Oil Co.,

211 F.R.D. 457, 471 n.10 (S.D. Fla. 2002) (collecting cases and observing,

“federal class action settlements routinely include releases waiving

future claims”); In re Chicken Antitrust Litig., 669 F.2d 228, 239 (5th Cir.

1982) (noting that the “release of future claims [is] an important element

of antitrust settlement[s]”). Home Depot’s criticisms of these cases—e.g.,

that they did not involve specific challenges to the releases at issue



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(HD.36–37)—are irrelevant to the point for which the District Court cited

them.

     Ultimately, there is good reason why the law permitting future

releases does not contain the antitrust exception that Home Depot urges.

The logic underpinning that law—promotion of settlement, with all of the

attendant efficiencies (see supra Section I.A.1)—applies with full force in

antitrust cases. As the “leading antitrust treatise” put it, settlement of

antitrust cases is “especially valuable” because “many business practices

can be simultaneously efficient and beneficial to consumers but also

challengeable as antitrust violations.” MSG, 2008 WL 4547518, at *8

(quoting Areeda & Hovenkamp, Antitrust Law ¶320a, at 282 (3d ed. 2004

& 2007 Supp.)).    “[T]he logical corollary” of prohibiting “releases of

conspiracies alleged to continue post-release” is that “parties can never

settle antitrust claims predicated on ongoing violations even if they are

based on the same kind of acts repeated in the subsequent period.” Id.

That would contravene “well-settled principles favoring settlement as a




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matter of public policy”. Id.; see also Managed Care, 2008 WL 11333988,

at *9; Wal-Mart, 396 F.3d at 106.10

     C.    The Settlement’s Release Does Not Undermine
           Public Policy

           1.    The Release Does Not Prevent Enforcement of the
                 Antitrust Laws

     Despite this caselaw, Home Depot argues that the Settlement

contravenes public policy because it “release[es] the right to enforce the

antitrust laws against continuing or new competitive restraints”.

(HD.23–27.) The release does no such thing, and the caselaw Home

Depot cites is not on point.

     Home Depot argues that an agreement cannot confer on a

defendant immunity from the antitrust laws. (See id. at 23–24, 27.) But

that is not what the release here does. Rather, the Settlement Agreement

releases the claims of a defined class of plaintiffs that purchased certain




   10 If, as Home Depot suggests, Congress had intended to categorically

proscribe releases of future antitrust claims with an identical factual
predicate to the settled litigation (see HD.23–24, 27), Congress could have
done so expressly. But “to say that Congress must have intended
whatever departures from th[e] normal limits [to] advance antitrust
goals is simply irrational.” Am. Express Co. v. Italian Colors Rest., 570
U.S. 228, 233–34 (2013). “[N]o legislation pursues its purposes at all
costs.” Id. at 234.


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products from Blue Plans during a particular time period (i.e., the

Settlement Class Members). 11 Subscribers who are not Settlement Class

Members have not released any claims, and remain free to pursue

whatever challenges to the Blue system they want—including disputing

the very conduct at issue and released in the Subscriber Settlement.

Home Depot’s caselaw does not address this situation. 12

        Nor does the propriety of the Settlement release hinge on the opt-

out plaintiffs’ “right to seek ‘individualized’ relief”, as Home Depot




   11 There should be no mistake that Rule 23(b)(2) Class members have

forever released their right to pursue any “claims for indivisible
injunctive or declarative relief against the Releasees” based on the same
factual predicates as the Subscriber Actions. (R.2939 at 1–2.) That is
what Settlement Class Members gave up in exchange for the “historic”
injunctive relief set forth in this Settlement. (R.2931 at 3); see Wal-Mart,
396 F.3d at 106; see also Managed Care, 2010 WL 6532982, at *7.
   12  Rather, its cases involve a litany of other, unrelated issues
including: the validity of an arbitration clause that would have
effectively precluded the plaintiff from bringing an antitrust claim in the
first instance, see Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth,
Inc., 473 U.S. 614, 637 n.19 (1985); whether divestiture is a form of
injunctive relief under the Clayton Act, see California v. Am. Stores Co.,
495 U.S. 271, 275, 284 (1990); whether an injunction can be issued where
the plaintiff has not shown actual injury, see Zenith Radio Corp. v.
Hazeltine Research, Inc., 395 U.S. 100, 130–32 (1969); and whether an
action by the FTC tolls the statute of limitations for a private antitrust
action, see Minn. Mining & Mfg. Co. v. N.J. Wood Finishing Co., 381 U.S.
311, 316–22 (1965).


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suggests. 13 (See id. at 32–34.) As just described, that is only one way in

which the Blues remain subject to the antitrust laws. In addition, there

are other potential plaintiffs—i.e., non-Settlement Class Members—who

may bring any claims they believe are worth pursuing, including claims

for indivisible injunctive relief. It is simply not true that the Blues are

perpetually immune from the antitrust laws as a result of this

Settlement.

        Home Depot also relies heavily on Redel’s Inc. v. General Electric

Co., 498 F.2d 95 (5th Cir. 1974), to press its public policy argument. In

Redel’s, the former Fifth Circuit held that a general release in a franchise

agreement did not bar certain antitrust claims arising thereafter,




   13  Home Depot says its right to pursue individualized relief is
“illusory”. (HD.32.) Not so—as is evident by the numerous opt-out suits
the Blues already face. Home Depot essentially seeks this Court’s
advisory blessing of arguments it might someday make in a hypothetical
opt-out case it might one day bring. As set forth above, this conflates
approval of the release with subsequent application of the release. Those
are two distinct issues. Home Depot’s related argument that the release
is improper because, over time, “new facts” and “changes in surrounding
market conditions” might give rise to a new claim (id. at 43–44) is wrong
for the same reason: it is a question about application of the release that
is properly addressed if and when a claim is asserted in a live
controversy.


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including because of public policy concerns. Id. at 99–100. Redel’s, a

nearly 50-year-old case, does not control.

     First, unlike the release here, the release in Redel’s applied only to

“claims . . . as of the date of the execution of this agreement”. Id. at 98.

Looking at “the unambiguous language”, the court determined “that the

parties did not intend the release to apply prospectively”. Id. at 98–99.

The court reached this conclusion as a matter of contract interpretation

before even discussing public policy. This language is very different than

the language here, where the parties expressly released future claims, to

the fullest extent allowed by law. (See R.2610-2 ¶¶1(uuu), 32.)

     Second, the release in Redel’s did not arise from a settlement;

rather, it was included in a pre-suit franchise agreement. The analysis

in Redel’s therefore does not implicate the considerable caselaw cited

above finding settlement releases of future antitrust claims valid and

lawful.    (See supra Section I.A.1.)        Nor does it implicate the

countervailing public policy considerations in favor of such settlements,

including the broad releases of future claims that such settlements often

entail. Moreover, the Redel’s court’s primary public policy concern was

that the release could “immunize parties with superior economic power



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from the penalties and restraints imposed by the enforcement of our

antitrust laws”. 498 F.2d at 100. As explained above, the Blues are not

so immune. (See supra at 41–43.)

     Third, the release in Redel’s was overbroad, as other courts have

recognized: it released “all claims”, without regard to whether those

claims shared an identical factual predicate to specific pre-release

conduct. See Payment Card, 2019 WL 6875472, at *26; see also Redel’s,

498 F.2d at 100 (noting the problem where “a general release fails to

disclose to the releasing party the factual predicate for an antitrust claim

or indeed, the fact that antitrust claims are even embraced by the

release”). And there certainly was no limitation based on an identical

factual predicate to antitrust claims asserted in a settled litigation

because, as just described, there was no settled litigation. See id. That

makes Redel’s entirely different.

     Fourth, not only did the release in Redel’s not arise from a

settlement, it also did not involve a class action settlement with the

additional structural protections that posture affords.           Among other

things, Rule 23(e)(2) requires the district court to determine whether a

proposed settlement is fair, reasonable and adequate before approval.



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Fed. R. Civ. P. 23(e)(2). In connection with that process, the court may

hear objections to the settlement, including objections to the scope of the

release (as occurred here). Home Depot argues these protections are

insufficient to overcome public policy concerns because the court falls

short of issuing “a merits ruling that any challenged restraint comports

with antitrust law”. (HD.29.) But Home Depot starts with the wrong

premise.   The very concerns motivating the Redel’s court—e.g., an

overbroad release and the risk that a defendant could commit future,

unrelated antitrust violations with both impunity and immunity—are

expressly addressed here through the class settlement approval process

required by Rule 23. Moreover, through the Final Approval Order, the

District Court expressly retained jurisdiction “for the purpose of

construing, enforcing, and administering the terms of the Settlement

Agreement”, such that the parties can seek judicial relief in the event the

Settlement Agreement is violated. (R.2931 at 89–90); see also Managed

Care, 756 F.3d at 1236 (“Although Appellants were barred from asserting

new claims premised on violations of the Settlement Agreement, they

could have sought relief from such violations . . . through a motion in the

district court to enforce the Settlement Agreement and Approval



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Order.”). None of those protections existed in Redel’s.

     Finally, Home Depot claims that “[o]ther circuits have condemned

future antitrust releases” because “they undermine private enforcement

to the public detriment”. (HD.26.) But none of the out-of-circuit cases

Home Depot cites involved a settlement release, and they do not support

Home Depot’s position. See Am. Safety Equip. Corp. v. J.P. Maguire &

Co., 391 F.2d 821, 826–28 (2d Cir. 1968) (finding arbitration clause

invoked in antitrust case unenforceable); In re Am. Express Merch. Litig.,

634 F.3d 187, 199 (2d Cir. 2011) (holding class action waiver in

arbitration agreement unenforceable as a matter of public policy because

the cost of individually arbitrating antitrust claims would be prohibitive),

rev’d, Italian Colors Rest., 570 U.S. at 233–34 (noting that the public

policies underlying “the antitrust laws do not guarantee an affordable

procedural path to the vindication of every claim”). In any event, as set

forth above, there is nothing unique about the fact that this release

occurs in the antitrust context. The analysis is the same and the release

is permissible. (See supra Section I.A.)




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             2.    This Court Has Already Considered and
                   Rejected Home Depot’s Public Policy Arguments
                   in Managed Care

        Home Depot’s position that public policy “prohibits release of the

right to enforce antitrust laws against continuing restraints of trade”

(HD.34–42) has already been rejected by this Court in Managed Care,

756 F.3d 1222.

        In Managed Care, this Court considered whether the district court

abused its discretion in finding plaintiffs in contempt for violating a

previously-approved class action settlement release that barred all

claims that “ar[ose] out of, or in any way [were] related to any of the facts,

acts,    events,   transactions,    occurrences,      courses      of   conduct,

representations, omissions, circumstances or other matters referenced in

the [settled litigation].”   Id. at 1226.    The district court found that

plaintiffs’ new antitrust claims were barred by the release, and when

plaintiffs refused to withdraw their complaint, the court issued an order

of contempt and sanctions. Id. at 1230. On appeal, plaintiffs argued that

the district court erred because the release did not apply to their new

claims challenging conduct post-dating the settlement’s effective date,

including because any release of future claims would contravene public



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policy. Id. at 1231. In support of this position, plaintiffs asserted the

very arguments that Home Depot makes here, namely, that Redel’s

precludes “any prospective waiver of antitrust liability . . . as against

public policy”. Brief for Appellants at 32, Managed Care, 756 F.3d 1222

(No. 12-14013), 2012 WL 4335018, at *32.

      This Court disagreed. Despite plaintiffs’ public policy arguments,

this Court held that the release barred plaintiffs’ antitrust claims

because the claims “echo[ed] the earlier allegations” stated in the settled

litigation   and   the   defendant’s     post-settlement       conduct    “merely

constitute[d] a continuation of the conspiracy alleged in [the settled

litigation]”. Managed Care, 756 F.3d at 1236. In other words, plaintiffs’

claims were not “new claims in and of themselves” and, therefore, release

of such claims through a class action settlement was entirely permissible.

Id.

      Home Depot tries to distinguish Managed Care by arguing it

involved “a release of future claims based on past conduct occurring by or

before its effective date”, and that this is “narrower than the release here”,

which releases “claims that arise after the Effective Date”. (HD.40–41.)

Home Depot is wrong. Although the release in Managed Care by its



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terms applied to claims “arising on or before the Effective Date”, 756 F.3d

at 1226, this Court nevertheless found it to bar even those claims

challenging pre-settlement conduct that continued post-settlement.

See id. at 1236. Home Depot’s emphasis on the “on or before the Effective

Date” language is therefore misplaced. 14

     D.    The District Court Did Not Rely on its Provider-
           Track Standard of Review Decision in Overruling
           Home Depot’s Public Policy Objection

     Finally, Home Depot argues that the District Court’s August 2022

standard of review decision for the Provider-track cases—in which the

Court held the rule of reason applies to claims challenging the Blues’

ESAs alone—“does not negate the public policy violation posed by the

prospective release.” (HD.46–54.) Home Depot attacks a strawman.

     The District Court did not address its Provider-track standard of

review decision—and certainly did not “rel[y] upon this ruling” (id.

at 46)—in overruling Home Depot’s objection that the Settlement’s

release violates public policy. (See R.2931 at 50–56.) Indeed, the District


   14 Ironically, given the cases it cites, Home Depot also argues that

Managed Care is not informative because it “is not a settlement approval
decision”, but rather “involved enforcement of an already-approved
settlement”. (HD.41.) Home Depot fails to explain why its purported
public policy considerations would not also bar enforcement.


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Court did not once raise its Provider-track ruling in the section of the

Final Approval Order concerning the Settlement release. 15             (See id.)

Rather, the Court referenced the Provider-track decision only in

overruling an entirely separate objection from Home Depot (not raised on

appeal) that the Settlement “would perpetuate a per se violation of

Section 1 of the Sherman Act.”          (Id. at 46–48.)    In overruling that

objection, the District Court correctly followed this Circuit’s instruction

that “unless the illegality of an arrangement under consideration is a

legal certainty [i.e., ‘clearly illegal’], the mere fact that certain of its

features may be perpetuated is no bar to approval.” (Id. at 46 (citing

Bennett, 737 F.2d at 987).) 16 The District Court cited its Provider-track

decision to provide yet another reason the post-Settlement Blue system

could not possibly be “clearly illegal”, since conduct that must be




   15 Similarly, the District Court never said that the release does not

violate public policy simply because “the rule of reason governs” and “rule
of reason review” should be treated “lightly”. (HD.49–50.) That
connection is manufactured by Home Depot and did not factor into the
District Court’s analysis at all.
   16 The District Court expressly declined to declare a standard of review

in the context of final approval because “to do so would actually involve
issuing an advisory opinion on the merits of issues that are not currently
before the court.” (R.2931 at 49.)


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evaluated under a full rule-of-reason analysis could not be “clearly

illegal” within the meaning of this Court’s caselaw.              (Id. at 47–48.)

Notably, Home Depot does not challenge the District Court’s conclusion—

which was well-reasoned and certainly not an abuse of discretion—or

pursue its prior objection on appeal.

     Home Depot also insists that the District Court’s citations to

Bennett, Grunin v. IHOP, 513 F.2d 114 (8th Cir. 1975), and Robertson v.

NBA, 556 F.2d 682 (2d Cir. 1977), were misplaced because they do not

support the Court’s supposed conclusion that “a future antitrust release

poses no problem if the conduct shielded by the release is not ‘clearly

illegal.’” (HD.51.) As just described, the District Court reached no such

conclusion—its analysis of the “clearly illegal” objection was entirely

separate from its analysis of Home Depot’s public policy objection. Again,

the District Court did not cite these cases in the section of the Final

Approval Order overruling Home Depot’s public policy objection.

(See R.2931 at 50–56.) This argument is nothing more than a backdoor

attempt to raise a failed objection—one that Home Depot cannot pursue

on appeal because the District Court, consistent with the caselaw,

determined that the post-Settlement Blue system was not “clearly illegal”



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without ever announcing the applicable standard of review on final

approval, exactly as Home Depot argued it should.             (See R.2812-20

at ECF 33–40.)

      Home Depot also contends the Provider-track decision “did not

hold” that “the Blues’ agreements to allocate bids for National Accounts

would escape per se condemnation.” (HD.46.) But again, the District

Court was not asked to—and did not—reach that conclusion on final

approval. While the Blues firmly believe the ESA rules are properly

subject to the rule of reason where National Accounts are concerned (and,

therefore, vehemently disagree with the argument set forth in

Section I.F.1 of Home Depot’s brief), that is a separate question to be

determined by other courts in other cases, when that question is properly

before the court on a complete record, as it was before the District Court

in the Provider-track. Home Depot has conceded as much. (See id. at 49

(“The point (at this stage) is not that these rules are illegal per se, but

that this should be an open issue if challenged in post-Settlement

litigation.”).)

      Finally, Home Depot argues that the release violates public policy

because “whether a restraint violates antitrust law does not depend on



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whether it is illegal per se”, since the release would “allow[] defendants

to forever avoid any . . . holding” that the post-Settlement Blue system is

unlawful under any standard of review. (Id. at 52–53.) This is simply

Home Depot repeating its mistaken argument that alleged antitrust

restraints can never be subject to a prospective release and its unfounded

claim that this release somehow immunizes the Blues from all antitrust

scrutiny. That argument is refuted for the reasons above. (See supra

Sections I.A–C.)

II.   The ASO Damages Claims Period Cannot Begin in 2008

      The District Court approved the allocation to the Self-Funded

Subclass in part because it found a five-year damages claims period was

reasonable. (R.2931 at 59–61.) Self-Funded Objectors argue that the

damages period should have been more than twice that long—running

back to 2008—because of supposed relation back to the 2012 Cerven

Complaint. (Topographic.48.) Self-Funded Objectors are wrong because,

as the District Court found, “[t]he Cerven complaint plainly did not

contemplate ASOs being part of that case or the relevant class.” (R.2931

at 61.) Thus, “ASOs cannot get the benefit of the Cerven filing date.” (Id.)




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        A.   ASOs that “Self-Insure” Were Not Members of
             Putative Classes “Insured” by Blue Plans

        Self-Funded Objectors argue that ASO claims relate back to the

Cerven Complaint under Federal Rule of Civil Procedure 15(c).

(Topographic.48–51.) According to Self-Funded Objectors, “[t]he critical

issue in Rule 15(c) determinations is whether the original complaint

gave notice to the defendant of the claim now being asserted.”

(Topographic.49 (quoting Makro Capital of Am., Inc. v. UBS AG, 543 F.3d

1254, 1260 (11th Cir. 2008)).) That is the legal standard the District

Court applied in overruling their objection. (R.2931 at 61.)17

        Courts apply that standard when an amended complaint changes

plaintiffs because “the chief consideration of policy is that of the statute

of limitations”. Cliff v. Payco Gen. Am. Credits, Inc., 363 F.3d 1113, 1132

(11th Cir. 2004) (quoting Fed. R. Civ. P. 15 advisory committee’s note to

1966 Amendment) (cited at Topographic.49). For absent class members,


   17 Although the District Court did not reach this additional
requirement in overruling the objection, Self-Funded Objectors’ own
authority requires them to make a further showing: that a reasonable
defendant would have assumed “that the action would have been brought
against it, but for a mistake concerning the proper party’s identity.”
Makro, 543 F.3d at 1258. Self-Funded Objectors make no attempt to
show any “mistake” concerning the identity of plaintiffs in the Cerven
Complaint—nor could they.


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questions of the statute of limitations often turn on the class action

tolling doctrine announced by the Supreme Court in American Pipe &

Construction Co. v. Utah, 414 U.S. 538 (1974). Under American Pipe,

“the commencement of the original class suit tolls the running of the

statute for all purported members of the class”. Id. at 553. Thus, to

invoke American Pipe tolling, a plaintiff must demonstrate that it was a

member of a putative class in a prior class action complaint. Id. at 554.

This Circuit has explained that the same principles govern the Rule 15(c)

analysis: relation back is not appropriate if it “would not accord with one

of the rationales of American Pipe, that commencement of the class action

adequately notifies the defendants ‘not only of the substantive claims

being brought against them, but also of the number and generic identities

of the potential plaintiffs who may participate in the judgment.’” Cliff,

363 F.3d at 1132–33 (cited at Topographic.49). Thus, allegations defining

the class in the original complaint are the touchstone.

     Applying that standard, the District Court held that “[t]he Cerven

complaint simply gave no notice to Defendants whatsoever that they

would have to defend against alleged misconduct in the ASO market.”

(R.2931 at 60–61.) In particular, the District Court found as a matter of



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fact that “under a fair reading of the Cerven Complaint, ASOs are

excluded from both the proposed damages and the injunction classes.”

(Id. at 61.) The District Court was right because the plain text of the

Cerven Complaint does not include ASOs in the putative classes.

         First, the District Court properly found the damages class alleged

in the Cerven Complaint did not include ASOs. (Id. at 60.) The Cerven

Complaint damages class included:

         All persons or entities who, from February 7, 2008 to the
         present (the “Class Period”) have paid health insurance
         premiums to BCBS-NC for individual or small group
         full-service commercial health insurance.

(Cerven Compl. ¶21.) Unlike fully-insured class members, ASO accounts

do not pay “health insurance premiums”. (R.2616 ¶2.) ASO accounts are

not “individual[s]” or “small group[s]”, which are generally too small to

self-fund. (Cerven Compl. ¶131.) And ASOs do not purchase “full-service

commercial health insurance”; they purchase “administrative services

only”. (Id. ¶129.) Thus, the Self-Funded Subclass’s damages claims

cannot relate back to those brought on behalf of the Cerven damages

class.     On appeal, Self-Funded Objectors do not argue otherwise.

(See Topographic.48–54 (no arguments about Cerven damages class).)




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     Second, the District Court correctly concluded that the injunctive

relief class pleaded in Cerven also did not include ASOs. (R.2931 at 61.)

The Cerven Complaint defined the injunctive relief class as:

     All persons or entities in the United States of America who
     are currently insured by any health insurance plan that
     is currently a party to a license agreement with BCBSA that
     restricts the ability of that health insurance plan to do
     business outside of any geographically defined area.

(Cerven Compl. ¶20.) As the District Court reasoned, “[t]hose who are

Self-Funded are just that—self-funded”, and thus, ASO accounts are not

“insured” by a “health insurance plan” under the Cerven injunction class

definition. (R.2931 at 61.) A defining characteristic of ASOs is their

decision to forego the purchase of “health insurance” and to instead self-

insure. (R.2616 ¶2.)

     Other allegations in the Cerven Complaint confirm the District

Court’s conclusion that both of the putative classes in Cerven excluded

ASOs. (R.2931 at 61.) The first paragraph in the Cerven Complaint

stated that plaintiffs sought to recover for allegedly inflated “premiums”.

(Cerven Compl. ¶1.)      “Premiums” are charged only for insurance

products, not for administrative services.       (R.2616 ¶2.)     The Cerven

Complaint then defined a relevant product market limited to “insurance



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products”, which excludes accounts that purchase ASO products. (Cerven

Compl. ¶124.) Even more specifically, the Cerven Complaint expressly

distinguished ASO products from fully-insured products, alleging that

ASO products were outside of and not encompassed by the relevant

product market of insured products for the case as a whole.

(Id. ¶¶129, 131); see also Brown Shoe Co. v. United States, 370 U.S. 294,

325 (1962) (explaining significance of defining a “relevant market” in

antitrust litigation).

      Thus, there is no error in the District Court’s finding that the

putative classes pleaded in the Cerven Complaint did not include ASOs

and did not give the Blues reasonable notice that ASOs might participate

in a potential Cerven judgment. See Makro, 543 F.3d at 1259; see also

Cliff, 363 F.3d at 1132–33.

      Contrary to Self-Funded Objectors’ suggestion, there is little

wonder why no ASO filed claims in Cerven, or at any other time prior to

November 2020: ASO claims are especially weak and disadvantageous

to pursue because the ASO market is extremely competitive.                    As

Subscriber counsel explained at the Final Approval Hearing, ASO claims

were not filed until the Fourth Amended Complaint because “ASOs had



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more competition.       It was a more competitive market.            The ASOs

generally had greater bargaining power . . . . And even if you assumed

that you were able to establish the same level of liability, the damages

were considerably less. The ASO business was less profitable.” (R.2865

at 134:11–135:7.) For example, ASOs have many options, other than

Blue Plans, to purchase administrative services with or without

purchasing full insurance services. (See id.) Indeed, because ASOs are

large entities that often operate in multiple states, they also may

purchase administrative services from any administrative services

provider operating in one or more of those states. (See id.)

     B.      Self-Funded Objectors’ Other Arguments Fail

     Self-Funded Objectors make a handful of other arguments for

linking the ASO damages claims period to the Cerven Complaint. None

has merit.

     First, Self-Funded Objectors claim the Blues admitted they had

“actual notice” of ASOs’ claims based on an argument in a 2013 motion

to dismiss brief. (Topographic.50.) As an initial matter, “actual” or

subjective notice, or the “understanding” of a particular defendant, is not

the standard. Self-Funded Objectors’ own authority applies an objective



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test based on the face of the prior complaint:            what a “reasonable

defendant” would have concluded “based solely on th[e] original

complaint”. Makro, 543 F.3d at 1260.

     In any event, Self-Funded Objectors also are wrong because they

quote only part of what the Blues argued in that motion to dismiss, and

omit entirely how plaintiffs responded and what the District Court ruled.

The Blues argued in 2013 that the MDL Subscriber-track consolidated

complaint failed to state a claim because it contained mismatched,

inconsistent allegations:     that the putative injunctive relief class

definition “encompasses both large and small groups that self-insure” in

a way that “contradicts the only product market that plaintiffs . . .

attempted to define”, which expressly excluded ASOs. (R.120 at 49 (cited

at Topographic.50).) In other words, the Blues explained that it would

make no sense to include ASOs in a case where the complaint pleaded no

allegations about an ASO market. That is no “admission” at all.

     Self-Funded        Objectors   then       omit      Subscriber-Plaintiffs’

contemporaneous response to the Blues’ motion to dismiss: that the

original complaint “justif[ied] exclusion of administrative services only

(ASO) products from the individual and small group fully insured product



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market because, among other things, ASO policy holders are large

enough to self-insure”. (R.153 at 11.) It was clear to the authors of the

complaint that ASOs were not part of it, and Subscribers made that

equally clear to the Blues and to the Court, in no uncertain terms. Self-

Funded Objectors further ignore that the Blues’ 2013 argument did not

carry the day because the District Court denied the motion to dismiss.

(See R.215.) 18   As Subscriber counsel stated at the Final Approval

Hearing, until ASO claims were brought in the Fourth Amended

Complaint, “our complaint was limited not merely to fully insured plans,

but was limited to individuals and small groups so that it was absolutely

clear that ASOs were not included. And indeed, when the complaint talks

about ASOs, it talks about why they are not in the market, why they are

distinguishable from the fully insured plans.”         (R.2864 at 14:7–24.)

Thereafter, throughout the MDL litigation since 2013, Subscriber-

Plaintiffs consistently have taken the position that ASOs were not part




   18 See also R.2865 at 163:19–21 (Blues’ counsel explaining “we did . . .

have questions on this point.      And plaintiffs, as masters of their
complaint, defined it.”).


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of any of the putative classes until the filing of the November 2020 Fourth

Amended Complaint. 19

      Second, Self-Funded Objectors argue that ASOs were included in

the Cerven injunctive relief class because some ASO entities purchase

stop-loss insurance. (Topographic.51.) Under Self-Funded Objectors’

own authority, “[s]top loss insurance is not medical insurance, it is a

financial and risk management tool” that is “designed to protect self-

insured employers from catastrophic losses.” (R.2845-01 at ECF 2–3.)

Because ASOs self-insure “without a health insurance provider in the

mix, the employer is entirely responsible for all qualifying medical costs.”

(Id. at ECF 3.) Additional expenses are covered by the stop-loss policy

once the self-funded “employer’s out-of-pocket is capped at an agreed

amount.”    (Id. at ECF 3–4.)      “[T]his coverage comes in the form of

reimbursement, so employers are still responsible for initial payment.”

(Id. at ECF 4.)




   19 See R.2864 at 14:7–24 (Subscriber counsel stating that “[t]hroughout

the litigation, we made clear that it was only the fully insured. . . . I don’t
think that you can in any way fairly read either the actual text of the
complaint itself or the conduct of this litigation as including the ASOs.”).


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      The Cerven Complaint alleges nothing whatsoever about stop-loss

insurance, expressly or impliedly. The term “stop-loss” does not appear

once in the Cerven Complaint. And there is nothing in Cerven to suggest

that those “insured” by Blue Plans captured ASOs who self-insured while

also purchasing stop-loss insurance as a backstop. After all, as alleged

in Cerven, the defining characteristic of an ASO is that it self-insures:

“when a consumer purchases an administrative services only (‘ASO’)

product, . . . the entity from which the consumer purchases that product

provides administrative services only.” (Cerven Compl. ¶129.) To the

extent Self-Funded Objectors argue something different now, no notice of

such allegations was provided in the Cerven Complaint, and thus there

is no basis for relation back. 20


   20 Though it requests “reversal” of one sentence in the Final Approval

Order, the amicus curiae brief filed by the Oklahoma Insurance
Department and others (“Amici”) in fact supports the reasonableness of
the Settlement. Amici argue that states have “the authority to regulate
stop-loss insurance products” (Amici.1), but the District Court’s decision
below had nothing to do with that issue. The question addressed by the
District Court was whether ASOs were “insured” by “health insurance
plans” as those terms were used in the Cerven Complaint. No one—not
Self-Funded Objectors, not Amici, not anyone—made arguments or
presented evidence below about whether stop-loss insurance qualifies
under some state laws as a form of “insurance”, “reinsurance” or anything
else. Moreover, Amici’s authority explained that, “unlike traditional


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     Further, even if some individual ASOs purchase stop-loss

insurance, many members of the Self-Funded Subclass do not. Thus,

stop-loss insurance cannot be the missing link that relates all Self-

Funded Subclass members’ claims back to the Cerven Complaint. Self-

Funded Objectors concede that ASOs do not uniformly purchase stop-loss

insurance or “other insurance products”. (Topographic.51.) Self-Funded

Objectors instead rely on a line in the Fourth Amended Complaint in

which the Self-Funded Subclass states that “[a] Self-Funded Account

that purchases . . . stop-loss coverage remains a Self-Funded Account”

and is not automatically excluded from the Subclass on that basis.

(Topographic.51 (citing R.2616 at 136).) That does not mean Self-Funded

Subclass members, as a group, purchase stop-loss insurance, and

Objectors cite nothing to suggest that they do. That, too, is fatal to their

objection. See Martin v. Halifax Healthcare Sys., Inc., 621 F. App’x 594,



group-health insurance, stop-loss insurance is akin to reinsurance in that
it does not provide coverage directly to plan members or
beneficiaries.” Edstrom Indus., Inc. v. Companion Life Ins. Co., 516 F.3d
546, 550 (7th Cir. 2008) (cited at Amici.2, 4.) Whatever the regulatory
treatment of stop-loss insurance under state law (which neither the
Settlement nor the Final Approval Order affects), ASOs that purchase
only stop-loss insurance are not like the putative class members alleged
in the Cerven Complaint.


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599 n.4 (11th Cir. 2015) (noting a plaintiff has the burden to cite

“supporting evidence for [an] assertion on appeal”).

     Third, Self-Funded Objectors argue that, regardless of which

putative classes brought the claims, the allegations in Cerven affect the

entire “Blue membership”, including ASOs, because they “attacked the

entire Blue structure”. (Topographic.53–54.) Again, that is the wrong

analysis. It is not enough that a new claim “arose out of the conduct,

transaction or occurrence set out . . . in the original pleading” under

Rule 15(c)(1)(B). Self-Funded Objectors’ own authority says that, under

Rule 15(c)(1)(C), the original complaint also must give notice that these

plaintiffs were pursuing such a claim. See Makro, 543 F.3d at 1260; Cliff,

363 F.3d at 1132–33. The Cerven Complaint did not.

     Further, the fact that the Cerven Complaint and the later ASO

complaint challenged the same Blue rules does not mean that their

claims arose from the same alleged conduct. The Cerven Complaint did

not claim that Blue rules allocated markets for ASO services, restrained

the sale of ASO-related products or inflated fees paid for ASO-related

services. See Caron v. NCL (Bahamas), Ltd., 910 F.3d 1359, 1368 (11th

Cir. 2018) (when “new claims ‘involve separate and distinct conduct,’ such



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that the plaintiff would have to prove ‘completely different facts’ than

required to recover on the claims in the original complaint, the new

claims do not relate back”). Instead, the Cerven Complaint explained

that ASO markets are different (Cerven Compl. ¶¶129, 131) and sought

rules changes that would have affected classes other than ASOs (id. ¶20).

     Moreover, there is nothing to Self-Funded Objectors’ observation

that “the [Cerven] complaint estimated Blue national membership at

100 million”, which is true “only if self-funded members are counted”.

(Topographic.54.) That figure was pleaded as background and context to

describe the Blue system as a whole; it did not purport to identify or

describe the putative classes in Cerven in any way.               (See Cerven

Compl. ¶15.) In light of the numerous, clear differences between the

allegations in the Cerven Complaint and the claims of the Self-Funded

Subclass, it was well within the District Court’s discretion to find the

Self-Funded Subclass’s damages claims period could not be based on the

Cerven Complaint. This Court should affirm.




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                              CONCLUSION

     For the foregoing reasons, Defendants-Appellees respectfully

request that this Court affirm the District Court’s approval of the

Subscriber Settlement.




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Dated: February 10, 2023                Respectfully submitted,

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                                        of Oklahoma, and Blue Cross and
                                        Blue Shield of Montana; Caring for
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      I hereby certify that I electronically filed the foregoing with the

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